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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                        :    CRIM. NO. 1:21-CR-26-2
                                                :
         v.                                     :    (Judge Conner)
                                                :
                                                :    (Magistrate Judge Carlson)
ROHAN LYTTLE                                    :

                                       ORDER

         This case comes before us for consideration of a motion seeking revocation

or amendment of the conditions of the defendant’s pre-trial release. (Doc. 85).

Upon full consideration of the positions of the parties and the facts proffered to the

court, IT IS ORDERED that this motion is GRANTED in part as follows:

         The curfew and related physical location monitoring conditions previously

set in this case are VACATED. All other conditions of pre-trial release, including

pre-trial services supervision, travel restrictions, computer monitoring, and the

absolute and total prohibition on weapons possession, drug use, and contact with

co-defendants including Caron Pitter remain in effect. Any violation of these

conditions is to be immediately reported to the undersigned so that a warrant may

issue.




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So ordered this 27th day of May 2022.

                               /s/ Martin C. Carlson
                               Martin C. Carlson
                               United States Magistrate Judge




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